Case 3:09-cv-00982-JL Document 1-1

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Attorneys for Plaintiff
NEWEGG INC.

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

CV 09

NEWEGG INC., a Delaware corporation,
Plaintiff,
v.

TELECOMMUNICATION SYSTEMS, INC.,
a Maryland corporation,

Defendant.

JL
0982

Case No.

COMPLAINT FOR DECLARATORY
AND OTHER RELIEF

JURY TRIAL DEMANDED

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Newegg Inc., a Delaware corporation (“Newegg” or “Plaintiff”), files this complaint

against defendant TeleCommunication Systems, Inc. (“TCS” or “Defendant”) and alleges as

follows:

COMPLAINT FOR DECLARATORY AND OTHER RELIEF; DEMAND FOR JURY TRIAL

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THE PARTIES

1. Plaintiff NEWEGG INC. is a Delaware corporation and has its principal place of
business located at 16839 E. Gale Avenue, City of Industry, California 91745.

2. Plaintiff is a leading e-commerce company offering products to consumers through
an unsurpassed shopping experience, rapid delivery, and stellar customer service.

3. Defendant TELECOMMUNICATION SYSTEMS, INC. is a corporation
organized under the laws of the state of Maryland. Defendant maintains a principal, regular and
established place of business located at 300 Lakeside Dr., Suite 1045, Oakland, California 94612.

4. Defendant is a provider of wireless data solutions. It has been a public company
since the autumn of 2000 and is traded on the NASDAQ as TSYS.

5. On information and belief, TCS has about 600 employees, many of them based in
Oakland, and Defendant regularly sells products in California and within this judicial district.

JURISDICTION AND VENUE

6. This is an action for a declaratory judgment of patent non-infringement and
invalidity. Jurisdiction over this action arises under the Federal Declaratory Judgment Act, 28
U.S.C. §§ 2201 and 2202. There is a justiciable controversy within the meaning of 28 U.S.C. §§
2201 and 2202 between Plaintiff, on the one hand, and Defendant, on the other hand, regarding
whether U.S. Patent No. 6,891,811 (“the ’811 Patent’) issued to Smith et al. on May 10, 2005,
and whether U.S. Patent No. 7,355,990 (“the ‘990 Patent) issued to Smith et al. on April 8, 2008
are valid, enforceable and infringed.

7. Jurisdiction over this action also arises under the patent laws of the United States,
Title 35, United States Code, and pursuant to the provisions of 28 U.S.C. §§ 1331 and 1338.

8. On information and belief, venue is proper in this judicial district pursuant to 28
USS.C. §§ 1391 and 1400.

INTRADISTRICT ASSIGNMENT

9. This is an Intellectual Property Action and shall therefore be assigned on a district

wide basis in accordance with Local Rule 3-2(c). Convenience considerations would favor

assignment to the San Francisco/Oakland Division as Defendant maintains a principal, regular

COMPLAINT FOR DECLARATORY AND OTHER RELIEF; DEMAND FOR JURY TRIAL 2

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and established place of business located at 300 Lakeside Dr., Suite 1045, Oakland, California
94612.

ALLEGATIONS

10. In correspondence dated January 12, 2009 and transmitted to California,
Defendant has accused Plaintiff of infringing U.S. Patent No. 6,891,811 (the ‘811 Patent) and
U.S. Patent No. 7,355,990 (the ‘990 Patent), based on Plaintiff's alleged “use of MO-to-
application SMS short codes,” including the alleged “use of the short code 639344.” (A true and
correct copy of the foregoing letter is attached hereto as Exhibit 1.)

11. Inthe foregoing letter, Defendant claimed that Newegg had engaged and engages
in the “unauthorized” use of “one or more gateways that place mobile-originated (MO) text messages
into HTTP protocol messages to web-based APIs,” as allegedly prohibited by 35 U.S.C. § 271 (a) by
virtue of the claims of the ‘811 and ‘990 Patents. The letter included a detailed claim chart allegedly
showing an “element-by-element application of the claims” to Plaintiffs use.

12. In the letter, Defendant went on to state that Plaintiff could abate its alleged
“infringement” of the ‘811 and ‘990 Patents by negotiating a license agreement and paying royalties to
Defendant. Thus, the letter suggested that, absent a license agreement or other consent from Defendant,
Plaintiff's liability for alleged patent infringement is increasing each and every day.

13, Under the circumstances, there is a substantial controversy between the parties,
having adverse legal interests, and of sufficient immediacy and reality, to warrant the issuance of

a declaratory judgment.

COUNT I
DECLARATORY JUDGMENT OF NON-INFRINGEMENT (‘811 PATENT)
14. Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
the allegations contained in paragraphs | through 13, inclusive.
15. Plaintiff contends that its conduct does not infringe, directly or indirectly, any
valid and enforceable claim of the ’811 Patent, nor does Plaintiff manufacture, use, sell, import or
offer for sale any product or service that infringes a valid and enforceable claim of the °811

Patent.

COMPLAINT FOR DECLARATORY AND OTHER RELIEF; DEMAND FOR JURY TRIAL 3

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16. On the other hand, Defendant contends that one or more of the independent claims
of the 811 Patent, including Claim 1, covers Plaintiffs conduct.

17. A justiciable controversy therefore has arisen and now exists between Plaintiff and
Defendant, and Plaintiff thereon requests that the court issue a judgment establishing the rights
and relations between the parties by declaring that Plaintiff does not manufacture, use, sell,
import, or offer for sale any product that infringes any valid and enforceable claim of the 811

Patent.

COUNT H
(DECLARATORY JUDGMENT OF INVALIDITY (‘811 PATENT)

18. Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
the allegations contained in paragraphs 1 through 17, inclusive.

19. Plaintiff contends that some or all of the claims of the °811 Patent are invalid for
failure to comply with the requirements of 35 U.S.C. §§ 101, 102, 103 and/or 112. For example,
U.S. Patent No. 6,654,786 discloses a translation module that can communicate between wireless
devices and internet devices, including SMS and HTTP protocols.

20. Furthermore, the SMS Text message at issue is intangible and the translation
device at issue is, at best, a generic device that could be embodied by any hardware with a
processor. Accordingly, some or all of the claims of the ‘811 Patent are invalid for claiming
nonstatutory subject matter under 35 U.S.C. § 101.

21. On the other hand, Defendant contends that one or more of the claims of the ’811
Patent, including Claim 1, are valid as issued by the United States Patent and Trademark Office,
and that Plaintiff is therefore required to cease and desist the manufacture, use, sale, and offering
for sale of certain products or services.

22. A justiciable controversy therefore has arisen and now exists between Plaintiff and
Defendant, and Plaintiff thereon requests that the court issue a judgment establishing the rights
and relations between the parties by declaring that some or all of the claims of the °81] Patent are

invalid for failing to comply with the requirements of 35 U.S.C. §§ 102, 103 and/or 112.

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COUNT I

DECLARATORY JUDGMENT OF NON-INFRINGEMENT (‘990 PATENT)

23. Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
the allegations contained in paragraphs | through 22, inclusive.

24. Plaintiff contends that its conduct does not infringe, directly or indirectly, any
valid and enforceable claim of the ’990 Patent, nor does Plaintiff manufacture, use, sell, import,
or offer for sale any product or service that infringes a valid and enforceable claim of the ’990
Patent.

25. On the other hand, Defendant contends that one or more of the independent claims
of the ’990 Patent, including Claim 1, covers Plaintiff's conduct.

26. A justiciable controversy therefore has arisen and now exists between Plaintiff and
Defendant, and Plaintiff thereon requests that the court issue a judgment establishing the rights
and relations between the parties by declaring that Plaintiff does not manufacture, use, sell,
import, or offer for sale any product that infringes any valid and enforceable claim of the ’990

Patent.

COUNT IV
(DECLARATORY JUDGMENT OF INVALIDITY (‘990 PATENT)

27. Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
the allegations contained in paragraphs | through 26, inclusive.

28. Plaintiff contends that some or all of the claims of the ’990 Patent are invalid for
failure to comply with the requirements of 35 U.S.C. §§ 101, 102, 103 and/or 112. For example,
U.S. Patent No. 6,654,786 discloses a translation module that can communicate between wireless
devices and internet devices, including SMS and HTTP protocols.

29. Furthermore, the SMS Text message at issue is intangible and the translation
device at issue is, at best, a generic device that could be embodied by any hardware with a
processor. Accordingly, some or all of the claims of the ‘990 Patent are invalid for claiming
nonstatutory subject matter under 35 U.S.C. § 101.

30. On the other hand, Defendant contends that one or more of the claims of the ’990

Patent, including Claim 1, are valid as issued by the United States Patent and Trademark Office,

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and that Plaintiff is therefore required to cease and desist the manufacture, use, sale, and offering

for sale of certain products or services.

31. A justiciable controversy therefore has arisen and now exists between Plaintiff and

Defendant, and Plaintiff thereon requests that the court issue a judgment establishing the rights

and relations between the parties by declaring that some or all of the claims of the ’990 Patent are

invalid for failing to comply with the requirements of 35 U.S.C. §§ 101, 102, 103 and/or 112.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays for the following relief:

1. For a judgment declaring that:

a. Plaintiff does not manufacture, use, sell, import, or offer for sale any
product or service that infringes, either directly or indirectly, any valid and
enforceable claim of the °811 Patent.

b. Some or all of the claims of the ’811 Patent are invalid for failing to
comply with the requirements of 35 U.S.C. §§ 101, 102, 103 and/or 112;

Cc. Plaintiff does not manufacture, use, sell, import, or offer for sale any
product or service that infringes, either directly or indirectly, any valid and
enforceable claim of the ’990 Patent.

d. Some or all of the claims of the 990 Patent are invalid for failing to
comply with the requirements of 35 U.S.C. §§ 101, 102, 103 and/or 112;

d. Plaintiff shall be awarded its costs and attorneys’ fees in connection with
this action, and such other and further relief as the court may deem
appropriate; and,

e€. This case is exceptional under 35 U.S.C. § 285;

2. Damages according to proof;
3. Plaintiff's Costs and Attorneys’ Fees according to proof; and
4, For such further relief as the court may deem just and reasonable.

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DATED: MARCH 7 , 2009

ZARIAN MIDGLEY & JOHNSON PLLC

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Attorneys for Plaintiff
NEWEGG INC.

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JURY DEMAND

Plaintiff respectfully demands a trial by jury.

DATED: MARCH 7 , 2009

ZARIAN MIDGLEY & JOHNSON PLLC

J oh. Zarian

Attorneys for Plaintiff
NEWEGG INC.

COMPLAINT FOR DECLARATORY AND OTHER RELIEF; DEMAND FOR JURY TRIAL 8

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Flachsbart & Greenspoon, LLC

* The Monadnock Building «53 W Jackson Bivd. Suite 652 + Chicago. IL 60604-3459 °
* Tel 312-431-3800 * Fax 312-431-3810 ‘ wwwfg-law com *

January 12, 2009

Newegg, Inc.

Attn: Mr. Lee Cheng
Genera] Counsel

16839 E. Gale Avenue
City of Industry, CA 91745

Re: Infringement of Patent Nos. 6,891,811 and 7,355,990, and License Offer

Dear Mr. Cheng:

Newegg, Inc. infringes United States Patent Nos. 6,891,811] and 7,355,990 (copies
enclosed) based on its use of MQO-to-application SMS short codes. The instances of
infringement we have found include Newegg, Inc.’s use of the short code 639344. We
write on behalf of the patent owner, TeleCommunication Systems, Inc. (TCS), to explain
the infringement and offer favorable licensing terms for Newegg, Inc. to continue using
the 811 and ‘990 patents.

TCS

TeleCommunication Systems, Inc. is a publicly held company that develops and
applies wireless data communications technology in the United States and internationally.
It focuses on text messaging and location-based services, including enhanced 9-1-1 for
wireless carriers and voice over Internet protocol (VoIP) service providers, and secure
satellite-based communication solutions for government customers.

TCS is widely known as an innovator in the wireless messaging field. As of
October 8, 2008, TCS holds 65 patents, with 199 applications pending. TCS has
aggressively protected its patent rights in the past, including winning a jury verdict of
patent infringement against Sybase 365 in 2007 in the Eastern District of Virginia to
remedy infringement of one of TCS’s intercarrier messaging patents.

The ‘811 and ‘990 Patents

Richard A. Smith and Johanna Wilson invented the ‘811 and ‘990 patents while
working at TCS. These patents disclose a way for companies to let individuals send SMS
text messages to Internet-connected computer applications, and receive messages back
from those applications in return. While this technology is commonplace and in
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widespread use today, Smith and Wilson’s innovative efforts first brought this technology
into existence many years ago, as reflected by the April 2000 priority dates of the patents.

In 2000, the inventors noted the need for a solution that allowed short message
communications “between wireless devices and application servers on the Internet
without the need for a specialized browser,” the patent specifications describe the
invention as allowing “any standard 2-way SMS capable handset to interact with
specialized web applications.” °81] patent at 4:41-47, 5:43-48.

The inventions accomplish this through creation of a “gateway” between the
existing SMSC and the web application. ‘811 patent at cols. 5-7. The preferred
embodiment’s gateway (called the “mobile to HTTP Gateway,” or “MHG” in the patent)
“generates HTTP protocol POST commands to an application program on a relevant IP
server 152-156 based on mobile-originated messages, and translates responses to the
same from HTTP protocol back into standard format SMPP messages for forwarding
back to the relevant mobile device 120.” ‘811 patent at 6:46-52. Put another way, the
MHG described in the patents takes the message content from the original SMS text and
puts it into a URL addressed to the destination server that is registered to correspond with
the outgoing SMS address. ‘811 patent at cols. 8-9. The cover figure (Figure 1) shows
the overall architecture graphically:

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The bottom line is this. The recipient of a mobile originated (MO) message no longer has
to be another wireless device (such as MOBILE 120), but may instead be one or more
application servers accessible over the Internet (e.g., IP SERVER 152, 154 and 156).

In short, the inventions allow mobile originated messages (MO) to communicate
with web applications. The ‘811 and ‘990 Patents currently have a continuation pending
in the U S. Patent and Trademark Office.

The Infringement

Our investigation concluded that Newegg, Inc. uses the short code 639344 to
connect consumers to web-connected applications, Thus, Newegg, Inc. uses one or more
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gateways that place mobile-originated (MO) text messages into HTTP protocol messages
to web-based APIs. To be more specific, Newegg, Inc. works with an aggregator and/or
an application provider that employs the gateway of claim 1 of the respective patents.
Since 35 U.S.C. § 271(a) prohibits the unauthorized use of the gateway of claim 1, and
since Newegg, Inc. has used such a gateway so far without a license, Newegg, Inc.
infringes. This claim chart shows an element-by-element application of the claims to

Newegg, Inc.’s use:

US. Patent No 6,891,811

| Aggregator / Application — Provider

technology used by Newegg, Inc.

1. A gateway, comprising:

Newegg, Inc. employs an Aggregator
and/or an Application Provider to use
gateway devices, as described below.

a first communication path to
accept a short message from a_ short
message service center;

Gateways used by Newegg, Inc. have an
incoming (“first”) communication path for
text messages, a route feeding messages in
from the SMSC’s.

a translation module to insert said
short message into an HTTP protocol
message; and

Gateways used by Newegg, Inc. have
software and/or hardware which translates
the message content of incoming texts into
HTTP messages.

a second communication path to
transmit said HTTP protocol message to at
least one URL;

Gateways used by Newegg, Inc. have an
outbound (‘‘second”) communication path
for transmitting such HTTP messages to at
least one URL.

wherein said gateway facilitates
two-way short message service
communication between a short message
service device and an HTTP device.

Gateways used by Newegg, Inc. are two-
way capable. They send return messages to
subscriber devices.

U.S, Patent No. 7,355,990

Aggregator / Application Provider

technology used by Newegg, Inc.

1. A gateway, comprising:

Newegg, Inc. employs an Aggregator
and/or Application Provider to use gateway
devices, as described below.

a first communication path to
accept a short message from a mobile
device;

Gateways used by Newegg, Inc. have an
incoming (“first”) communication path for
text messages, a route feeding messages in
| from the SMSC’s.

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a translation module to insert said
short message into an Hypertext Transfer

Gateways used by Newegg, Inc. have
| software and/or hardware which translates

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Protocol (HTTP) message;

the message content of incoming texts into
HTTP messages,

a second communication path to
push said HTTP message to at least one
Universal Resource Locator (URL); and

Gateways used by Newegg, Inc. have an
outbound (“second”) communication path
for pushing such HTTP messages to at least
one URL.

a return communication path to
receive a return message relating to said
HTTP message.

Gateways used by Newegg, Inc. are two-
way capable. They have a return path to
send return messages to subscriber devices.

Offered License Terms

TCS has established a reasonable royalty rate that takes into account the high
value of its intellectual property to brand companies and the like, balanced against the
need to price these license rights in line with corporate promotional budgets. TCS is not,
at this time, asking Newegg, Inc. to cease and desist using MO-to-application short
codes. Instead, TCS would prefer to come to terms that will allow Newegg, Inc. to
continue to use such short codes (and their associated gateways) with express
authorization and under a license by TCS. These terms are based on the easily
measurable extent of use of the invention, and the type of use (premium short codes or
not). Royalty amounts begin at a $5,000 payment for a three-year term license, and go up
from there. The royalty schedule is as follows, per short code:

Yearly

Volume of Non-Premium Three Year Premium Term

Three Year

Messages Term License License
< 100k $5,000 $10,000
100k-1M $20,000 $40,000
1M-5M $50,000 $100,000
5M+ $100,000 $200,000

Please note that each short code registration requires an additional license. Please
also note that fully paid-up licenses for unlimited registrations and usage are also
available if desired, at prices subject to negotiation.

As soon as Newegg, Inc. expresses an interest in abating its infringement through
payment of royalties, we will send you a draft license agreement. TCS will then allow
Newegg, Inc. to make an initial indication of which licensing tier applies to each
particular short code. If the selected tier is below the 5 million yearly messages level,
TCS will retain audit rights to confirm the accuracy of the selection at the end of the
three-year license term.
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January 12, 2009
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On behalf of TCS, we thank you for your kind attention to this matter. If you
have any questions, please do not hesitate to contact us. We look forwarding to working
with you.

Sincerely,

bw ao

William W. Flachsbart
